     Case 2:19-cv-10529-MLCF Document 18 Filed 10/20/20 Page 1 of 1



                    UNITED STATES DISTRICT COURT

                    EASTERN DISTRICT OF LOUISIANA


JEFFREY LEWIS                                            CIVIL ACTION


v.                                                       NO. 19-10529


DARREL VANNOY                                            SECTION “F”


                                 ORDER

     IT IS ORDERED: that the Report and Recommendation of United

States Magistrate Judge Janis van Meerveld is ADOPTED as the

findings and conclusions of this Court.

     Accordingly, IT IS FURTHER ORDERED: that the plaintiff’s

petition for writ of habeas corpus is DISMISSED WITH PREJUDICE.


                          New Orleans, Louisiana, October 20, 2020



                                 ______________________________
                                      MARTIN L. C. FELDMAN
                                  UNITED STATES DISTRICT JUDGE




                                   1
